                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN
                                    GREEN BAY DIVISION


ONEIDA SEVEN GENERATIONS
CORPORATION and GREEN BAY
RENEWABLE ENERGY, LLC,

                     Plaintiffs,

       v.                                                                  Case No. 1:16-cv-01700

CITY OF GREEN BAY,

                     Defendant.


            DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT


       Defendant City of Green Bay (the “City”), by its counsel, Gunta Law Offices, S.C.,

respectfully moves to dismiss the Complaint pursuant to Federal Rules of Civil Procedure 9, 12

and 17 as follows:

             1. The Complaint should be dismissed under Rule 12(b)(6) for failure to state a claim

                upon which relief can be granted. In support of this defense, the City relies on the

                facts alleged in the Complaint and not on any matters outside the pleadings.

             2. Plaintiff Green Bay Renewable Energy, LLC should be separately dismissed under

                Rule 12(b)(1) for lack of subject matter jurisdiction. In support of this defense, the

                City relies on the facts alleged in the Complaint and not on any matters outside the

                pleadings.

             3. The City specifically denies that Plaintiffs Oneida Seven Generations Corporation

                and Green Bay Renewable Energy, LLC, have capacity to sue, and the Complaint

                should therefore be dismissed under Rules 9(a), 12(b)(2), and 17(b)(2). In support




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              of this defense, the City relies on supporting facts as stated in Exhibit 1 to the

              Memorandum in Support of Defendant’s Motion to Dismiss the Complaint, filed

              herewith, and in the declarations of Gregg J. Gunta and Leah Dodge in support of

              this motion, filed herewith.

       The grounds for this motion are fully set forth in the Memorandum in Support of

Defendant’s Motion to Dismiss and accompanying exhibits and declarations, filed herewith.

       Dated this 7th day of February, 2017.

                                                     GUNTA LAW OFFICES, S.C.
                                                     Attorneys for Defendant, City of Green Bay



                                               By:   _/s/ Gregg J. Gunta                     _
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